            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )
          v.                        ) Criminal Action No.
                                    ) 08-00140-04-CR-W-NKL
ABDULLAH TAYLOR,                    )
                                    )
                Defendant.          )

                       REPORT AND RECOMMENDATION
                   TO ACCEPT DEFENDANT’S GUILTY PLEA

     On December 16, 2008, I held a change-of-plea hearing after

this case was referred to me by United States District Judge

Nanette Laughrey.    I find that defendant’s plea was voluntary and

therefore recommend that it be accepted.

I.   BACKGROUND

     On June 3, 2008, an indictment was returned charging

defendant with one count of conspiracy to possess with intent to

distribute Oxycontin/Oxycodone, Morphine, Demerol/Meperidine, and

Hydromorphine/Fentanyl, in violation of 21 U.S.C. § 846; one

count of robbery of a pharmacy, in violation of 18 U.S.C. § 1951;

one count of brandishing a firearm during a drug trafficking

crime and a crime of violence, in violation of 18 U.S.C. §

924(c); and one count of possessing a firearm after having been

convicted of felonies, in violation of 18 U.S.C. §§ 922(g)(1) and

924(e).   Judge Laughrey referred this case to me for conducting a

change-of-plea hearing and issuing a report and recommendation on




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whether to accept the plea.        The hearing was held on December 16,

2008.    Defendant was present, represented by Mark Thomason.                The

government was represented by Assistant United States Attorney

David Barnes.      The proceedings were recorded and a transcript of

the hearing was filed on December 18, 2008.

II.   AUTHORITY OF THE COURT

        The authority of federal magistrate judges to conduct

proceedings is created and defined by the Magistrates Act, 28

U.S.C. § 636. Besides certain enumerated duties, the Act provides

that a “magistrate may be assigned such additional duties as are

not inconsistent with the Constitution and the laws of the United

States.” 28 U.S.C. § 636(b)(3).

        The Eighth Circuit, following the reasoning of several other

circuits, has held that magistrate judges may preside over

allocutions and pleas in felony cases, so long as certain

procedural safeguards are met. United States v. Torres, 258 F.3d

791, 795-96 (8th Cir. 2001); see also United States v. Dees, 125

F.3d 261 (5th Cir. 1997), United States v. Williams, 23 F.3d 629

(2d Cir. 1994). The reasoning applied by the appellate courts

relies upon previous opinions by the United States Supreme Court

that conducting jury voir dire falls within a magistrate judge’s

“additional duties” when the defendant has consented. United

States v. Torres, 258 F.3d at 795 (citing Peretz v. United

States, 501 U.S. 923 (1991), Gomez v. United States, 490 U.S. 858


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(1989)).

        In Peretz, the Supreme Court held that when a defendant

consents to a magistrate judge’s involvement in voir dire, he

waives any objection based on his right to have an Article III

judge hear his felony case. 501 U.S. at 936. Moreover, the

availability of de novo review by a district judge preserves the

structural guarantees of Article III. United States v. Torres,

258 F.3d at 795. Applying the Peretz holding and the reasoning of

Williams, the Eighth Circuit held that the acceptance of guilty

pleas bears adequate relationship to duties already assigned by

the Magistrates Act in that “[a]n allocution is an ordinary

garden variety type of ministerial function that magistrate

judges commonly perform on a regular basis.” Id. Plea allocutions

are substantially similar to evidentiary proceedings explicitly

assigned by the Act. Id. at 796 (citing United States v. Dees,

125 F.3d at 265).      Even if taking a guilty plea were considered

to be of greater importance than those duties already assigned,

the consent of the defendant saves the delegation. Id. “Consent

is the key.” Id. (quoting United States v. Williams, 23 F.3d at

633).

        The Torres court also addressed the implications of such a

delegation for Article III’s case and controversy clause. Id.

Because plea proceedings are submitted to the district court for

approval, the court retains ultimate control over the proceedings


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and is not bound to accept a plea taken by a magistrate judge.

Id. Moreover, the district court’s de novo review of the plea

proceedings contributes to the ministerial nature of the

magistrate judge’s role. Id.

     Based on the above, I find that, with the consent of the

defendant, the district court may properly refer a felony case to

a Magistrate Judge for conducting a change-of-plea hearing and

issuing a report and recommendation on whether the plea should be

accepted.

III. FINDINGS OF FACT

     1.     On June 3, 2008, an indictment was returned charging

defendant with one violation of 18 U.S.C. § 1951 by robbing a

pharmacy, and with one violation of 18 U.S.C. § 924(c) by

brandishing a firearm during the pharmacy robbery (Tr. at 4-6).

     2.     The statutory penalty for count two, the robbery count,

is not more than 20 years in prison, not more than $250,000 fine,

not more than five years supervised release, a $100 special

assessment, and the possibility of restitution (Tr. at 6).                The

statutory penalty for count two, the gun count, is not less than

seven years and not more than life in prison, to run consecutive

to any other sentence, not more than $250,000 fine, not more than

five years supervised release, and a $100 special assessment (Tr.

at 6-7).




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     3.    Defendant was advised of the following:

           a.   That he has a right to a trial by jury of at least

     12 individuals and that their verdict must be unanimous (Tr.

     at 7);

           b.   That he has the right to assistance of counsel

     throughout the trial (Tr. at 8);

           c.   That defendant is presumed innocent, and the

     government has the burden of coming forward to prove

     defendant’s guilt beyond a reasonable doubt (Tr. at 8);

           d.   That defendant’s attorney would have the

     opportunity to cross examine the government witnesses (Tr.

     at 8-9);

           e.   That defendant would have an opportunity to

     subpoena witnesses to testify on his behalf (Tr. at 9);

           f.   That defendant would have an opportunity to

     testify on his own behalf, but that he would not be required

     to and the jury would be instructed that they could not draw

     an adverse inference if he chose not to testify (Tr. at 9);

     and

           g.   That defendant would have an opportunity to appeal

     any conviction to the Eighth Circuit Court of Appeals (Tr.

     at 10).

     4.    Defendant was informed and understood that by pleading

guilty, he is giving up all of the rights described above (Tr. at


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10-11).

        5.   Defendant was informed that during the change-of-plea

proceeding, he would be placed under oath and questioned by

counsel and the judge (Tr. at 11).            Defendant was further

informed that he must answer questions truthfully while under

oath (Tr. at 11).      Defendant stated that he understood (Tr. at

11).

        6.   Defense counsel had full access to the government’s

file and agreed that his review of the evidence and his

independent investigation confirmed that the facts were as

alleged by the government and that it is in the defendant’s best

interest to plead guilty (Tr. at 11-12).

        7.   Government counsel stated that its evidence would show

that:

        This case . . . revolve[s] around the robbery of a wholesale
        pharmacy in southern Kansas City, at the old Red Bridge
        Bowling Alley, in . . . May of 2008. Your Honor, we would
        have evidence that it was, in fact, robbed and Mr. Gianakon
        was, in fact, assaulted at the pharmacy that is, in fact,
        does wholesale business in terms of both buying and selling
        controlled substances, primarily morphine-based Oxycontin
        and other morphine-based, and synthetic morphines across
        state lines. Additionally, Your Honor, we received
        information that a particular individual was involved in
        that crime. He had an open case in another jurisdiction. A
        search warrant was obtained in that other jurisdiction and
        was executed. That individual was caught with narcotics
        believed to be from the Omnicare Pharmacy. He was advised of
        his Miranda rights and cooperated extensively implicating
        Mr. Taylor here and other individuals. The videotapes of the
        robbery were recovered as well making -- narrowing the
        identification possibilities of Mr. Taylor. Mr. Taylor,
        quite frankly, is not a small man. He’s a large, muscular
        man and the tape bears that out with in terms of someone

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       being involved in one of the robberies. Surveillance was set
       on another house. Search warrants were executed and Mr.
       Taylor was arrested on the scene. There were evidence of
       robberies, including tape, gloves, receipts for such items,
       narcotics from the pharmacy and firearms matching the shape
       and type of those found on the videotape. Mr. Taylor was, in
       fact, arrested, Mirandized and gave a statement implicating
       himself. Other individuals were Mirandized gave statements
       implicating themselves and Mr. Taylor. So, in short, Your
       Honor, we’d have physical evidence from the robbery, a
       videotape that memorialized the robbery, and individuals
       involved in the robbery itself implicating Mr. Taylor, and
       Mr. Taylor’s own admissions. . . . It’s the United State’s
       position that the videotape depicts Mr. Taylor brandishing
       the firearm.

(Tr. at 12-14).

       8.   Defendant was placed under oath (Tr. at 12) and

admitted the following: Sometime around May 11, 2008, defendant

went with one or more people to Omnicare Pharmacy located in

Kansas City.    He conducted a robbery of that facility in order to

gain access to controlled substances from the presence of Harry

G. Gianakon, an employee.       He too the controlled substances by

using threats, and he brandished a firearm when he committed the

robbery.    Defendant knew it was against the law.            He does not

dispute that the pharmacy was involved in commerce (Tr. at 14-

16).

       9.   Defendant is familiar with the plea agreement,

discussed it with his attorney, and understands it (Tr. at 17).

In addition, I went over the plea agreement with the defendant

(Tr. at 17-22).




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      10.   No one made any threats or promises to get defendant to

plead guilty (Tr. at 22).

      11.   Defendant is satisfied with the advice and guidance he

has received from Mr. Thomason (Tr. at 22).           There is nothing he

wanted Mr. Thomason to do that Mr. Thomason did not do, and there

is nothing Mr. Thomason has done that defendant did not want Mr.

Thomason to do (Tr. at 22).

      12.   Defendant is 28 years of age and has a 12th grade

education (Tr. at 22-23).      Defendant has no mental health or

substance abuse issues (Tr. at 23).

      13.   Defendant tendered a plea of guilty to the crimes

charged in counts two and three of the indictment (Tr. at 24).

IV.   ELEMENTS OF THE CHARGED OFFENSES

      The elements necessary to sustain a conviction for robbery

of the pharmacy are:     (1) the defendant induced Mr. Gianakon to

part with controlled substances; (2) the defendant voluntarily

and intentionally did so by extortion -- that is, through the

wrongful use of actual or threatened force or violence or through

the wrongful use of fear, and (3) the defendant’s action affected

commerce in some way or degree.          Eighth Circuit Model Criminal

Jury Instruction 6.18.1951.

      The elements necessary to sustain a conviction for

brandishing a firearm during a drug trafficking crime or a crime

of violence are:    (1) the defendant committed the crimes of


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robbery of a pharmacy, and (2) the defendant knowingly possessed

a firearm in furtherance of that crimes.          Eighth Circuit Model

Criminal Jury Instruction 6.18.924C.

V.   CONCLUSION

     Based on the above, I make the following conclusions:

     1.   The district court may lawfully refer this case to a

Magistrate Judge for issuance of a report and recommendation on

whether defendant’s guilty plea should be accepted.

     2.   Defendant knowingly and voluntarily pleaded guilty to

conduct establishing every element of the crimes charged in

counts two and three of the indictment.

     Therefore, it is

     RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

accepting defendant’s guilty plea and adjudging defendant guilty

of the offenses charged in counts two and three of the

indictment.

     Counsel are advised that, pursuant to 28 U.S.C. § 636(b)(1),

each has ten days from the date of this report and recommendation

to file and serve specific objections.



                                   /s/ Robert E. Larsen
                                 ROBERT E. LARSEN
                                 United States Magistrate Judge
Kansas City, Missouri
December 19, 2008

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